           Summary of defendant’s conversation regarding HTS during charged period


02/22/2018 In a Telegram account D deleted (thepenandthesword), D forwards UCE
           news articles about HTS and other fighters in Syria. One article she
           posted was from OGN News titled “HTS vs Zinky: OGN on the Front
           Lines in Darut Izzah” and captioned “HTS fighter in this video is asking
           Zinky why they have the ability to fight HTS but did not show the same
           willingness to fight the regime…”
           D tells UCE that Abu Abdullah told her that there was a lot of infighting
           between groups in Syria because HTS wanted to fight Zinke and that Abu
           Abdullah wanted to go to Turkey. D says she advised Abu Abdullah that
           in times of fit to stay in your homes. D says Abu Abdullah has a friend in
           Turkey with the FSA.
           D says that Turkey used to financially support HTS before they were HTS
           (3/17/18)
03/02/18   D forwards an Arabic message to the Telegram group (untranslated), she
           says “Soooo this brother is exposing hts”.

03/04/18      In the Telegram group chat, D shares an Arabic post and tells the group
              that the “Sheikh is saying about hts and infighting in Idlib. That when a
              group refuses to go before shariah court he’s oppressor”.
              D then says “And one must not fight under the banner of oppressor. It is
              getting worse”
              D says “Bc now the infighting is causing deaths among women and
              children bc of their fights” “It’s really bad Subhan’Allah” “Hts cutting off
              roads”
              UCE asks “Is the sheikh calling for unity against Assad?”
              D says “No one fighting assad”
              …
              D then says “They’re attacking cities with missiles”
              The others in the group express sadness and say “The end of times
              Subhan’Allah”
              D says “You should see the tanks hts brought against them”
              The group comments “That’s one of the signs” and “It may even get
              worse”
              The UCE asks “I’m confused, I thought HTS fighting that dog Assad and
              fighting for the ummah?”
              Alaa (hearts) says “ No way anyone should go to those areas for now.
              Those fools who are infighting, both sides go to hell”
              D responds “That’s what Abu said it’s not safe for women to go”
              …
              The UCE asks “But I thought it was obligatory for all to make hijrah and
              for the men, jihad?”
              D responds “Abu is staying in the home”
              Alaa says “There is fitnah there”
              D says “He doesn’t want to be a part of that fitnah” and responds to the
              UCE “Not during these times” “Bc they might enter hell”
              The UCE asks “So we have to stay here???”



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              D says “Theres hadith saying to let them kill you and don’t fight back” D
              says “That’s why Abu isn’t getting involved even though there is ayah to
              fight them” “But it’s difficult to be sure”
              The group then discuss the hadith that discourage infighting between
              Muslims.
              D posts an ayat from the Quran (49:9) discussing infighting between
              Muslim factions and settling their differences.
              D says “That ayah made Abu stay up all night but aurar and all them want
              to go to court But hts refuses court”
              D says “It makes me wonder due to jojo coming into idle you know and if
              now hts has half jojo”
              The UCE asks “do you think jojo fighters are infiltrating HTS?”
              D responds “Yes I do”
              The group discusses Jolani being the leader of HTS and the confusion of
              the leadership of groups from online info.
              -
03/04/18      UCE asks “What factions are in ghouta?”
cont.         D responds “Hts ahrar fsa” “Jojo”
              …
              D says “But it’s okay to fight the one oppressing the ppl bc they turned
              away from Allah” “But the point is they all have turned away”
              D says “Fsa fights for T and not against assad” “Hts wants to fight groups
              and take their land” “Ahrar fights for T” “It’s all crazy”
              …
              D then quotes AbdulAzizi Al-Turaifi: “There's no solution when the
              Mujahideen fight each other but only going to an independent Court . And
              the one who refuses is oppressor and lt is not permissible to fight under
              his banner”
              D then says “Hts refuses”
              Alaa (hearts) says “There isn’t a group in power that’s fighting for the
              right reasons to the best of my knowledge”
              D responds “True”
              D and the others then discuss that this is the end of times and the signs of
              the Last Day.
              …
              Alaa asks D “Ameera why do you dislike jolani?”
              D responds “Bc he’s leading hts wrong direction”
              …
              D says that Sheikh Muhaysani “left hts awhile ago…They wanted to kill
              him”
              D says “Yes I respect him a lot” (referring to Muhaysani)
03/12/18-     UCE and D in group chat with Alaa and Eman. Alaa asks D, “Ameera.
03/15/18      The groups that are infighting…Is it nurrudin, Ahrar, Zinky and HTS?
              Those are the ones I know, are there more, are there more”
              D responds “Yea there’s some I never heard of. There’s also a new group
              coming out I don’t remember their name though.”



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           Alaa responds “Subhan’Allah, all of those? Who isn’t participating.”
           D says “Even turkistan group is helping hts. I’m unsure.”
03/12/18   In the Telegram group chat D shares an article with the headline “France
           will strike Syria chemical arms sites if used to kill: Macron”
           D says “Great attack
09/23/2018 UCE creates a Secret Chat with D and tells her that she wanted to talk to
           her after she figured out some stuff with her husband UCE Yusuf. UCE-1
           tells D that the other day “Yusuf and I (well Yusuf did it for both of us)
           swore bayat to HTS.” D responds, “No. HTS is no good. Abu has told me
           way too many stories”

             UCE says that they discussed HTS and AQ and D responds “There are no
             known groups right now. And there’s Hadith about that also. When this
             situation approaches.” …”That when theres no known group then stay in
             your home.” UCE then states that in order to go over to fight UCE-2 had
             to pick a group to swear bayat to. D tells her “No that’s not true. The
             borders are open right now. 250ds to enter 3500ds to leave.”

             UCE then tells D that the “brother was saying that HTS and AQ were
             working together against Assad.” D then tells UCE Aisha that HTS is
             allied with Turkey and that “HTS allowed Turkey to set up check points
             in S.”
             D asks UCE where her husband found that person and UCE tells her that
             last spring she sent money and it went to AQ. GG tells UCE to be careful.

             UCE tells D that “The brother Alaa put us in touch with was with AQ and
             got the money to them….He was saying that AQ and HTS are fighting
             together.” GG says she is “unsure about that. Bc they broke away last
             year”. UCE tells D that if they borders open then her and UCE Yusuf can
             just “get over there and figure it out for ourselves when we’re there
             inshallah, unless you have a good contact…”. D asks if she is really going
             without a plan
             UCE: I will have to ask Yusuf about all of this.
             Arneera: And to make sure it's legit. Be whatever that hts individual said
             to him is a complete lie. Which I already told you that lol. Khayr
             inshallah. I know some people make 50ds a month some make lOOds a
             month and others don't even get paid for 2 or 3 months. Make sure
             inshallah your
             husband is checking in to all that.
             UCE: I will have to ask him about this inshallah ... I just know that we
             have been planning to go after his aunt died ... even Alaa said to me that if
             you can go we should go and that if we don't it's on us that we didn't ...
             and this has been our plan, and his obligation.
             Arneera: Why doesn't alaa go?
             UCE: I haven't talked to her since her weird freak out back in May.
             Arneera:, She told you guys to go? Have you thought about Afghanistan?



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         They're still fighting there.
         UCE: Yes ... she told us to talk to the guy we sent money to about it. We
         have yes. Ameera: The indian in syria?
         UCE: I'm not sure his ethnicity but yes.
         Arneera: I don't remember his telegram channel. But he doesn't support
         hts.
         UCE: He does, and AQ
         Ameera: Hmmmmm
         …




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